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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                                                  CASE NO: 21-CR-175-TJK
v.

ENRIQUE TARRIO,

                           Defendant.

_______________________________/


                     ENRIQUE TARRIO’S MOTION TO TRANSFER VENUE
                              AND MEMORANDUM OF LAW


         COMES NOW the Defendant, Enrique Tarrio, by and through his attorneys,

pursuant to Rule 21 of the Federal Rules of Criminal Procedure, and the Fifth and Sixth

Amendments to the United States Constitution, and respectfully moves for a change of

venue to ensure a fair trial by an impartial jury without the significant prejudice that

exists in the current jury pool.1 Defendant, Enrique Tarrio (hereinafter referred to as

―Tarrio‖ or ―Defendant‖) asks the Court to move his trial outside the District of D.C. to

the appropriate alternative venue of Southern District of Florida where he resides,

where he was arrested, and where witnesses for the Defense reside.



                                         PROCEDURAL HISTORY



         On March 7, 2022, a grand jury in the District of Columbia issued an eight count

Second Superseding Indictment, charging Defendant Enrique Tarrio with Conspiracy to

Obstruct an Official Proceeding, in violation of 18 U.S.C §1512(k); Obstruction of an
1
 Tarrio brings this motion at this time and before the substantial investment of time and effort in jury selection has
been expended. Tarrio requests leave to supplement or amend his motion for change of venue as the trial date
approaches and potential jury questionnaires are received.

                                                                                                                         1
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Official Proceeding and Aiding and Abetting, in violation of 18 USC §1512(c)(2);

Obstruction of Law Enforcement During a Civil Disorder and Aiding and Abetting, in

violation of 18 USC §231(a)(3); Destruction of Government Property and Aiding and

Abetting, in violation of 18 USC §1361; and Assaulting, Resisting, or Impeding Certain

Officers, in violation of 18 USC §111(a)(1). All allegations levied against Tarrio hinge on

a few transcripts of conversations with other Proud Boys members via electronic means

which seemingly form the backbone of the government’s case against him. Tarrio was

not present during the events of January 6, 2021 Capitol Incident (hereinafter referred to

as ―J6‖). Tarrio was the Chairman and public face of the Proud Boys. On March 7, 2022,

Tarrio was taken into custody at his house in Miami, Florida. On March 8, 2022, Tarrio

appeared in the United States District Court for the Southern District of Florida. On

March 15, 2022, a detention hearing/removal hearing took place and Tarrio was ordered

detained by United States Magistrate Judge Lauren Louis. Tarrio has been removed to

Virginia and awaits trial.



                               MEMORANDUM OF LAW

       The Sixth Amendment to the United States Constitution grants criminal

defendants the right to a fair trial by an impartial jury. Duncan v. Louisiana, 391 U.S.

145 (1968). ―The great value of a trial by jury certainly consists in its fairness and

impartiality.‖United States v. Burr, 25 F. Cas. 49, 51 (CC Va. 1807). An impartial jury is

required under the Constitution and has been required since the times of common law.

Id.; see also Patton v. Yount, 467 U.S. 1025 (1984).

       A criminal trial ordinarily should take place in the district where the offense was

committed.    U.S. Const. amend. VI; Fed. R. Crim. P. 18.          If ―extraordinary local

prejudice‖ will prevent the defendant from obtaining a fair trial in the district of the
                                                                                          2
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offense, then due process requires transferring the trial to another appropriate

alternative venue.     Skilling v. United States, 130 S. Ct. 2896 (2010).           For these

situations, the Federal Rules of Criminal Procedure have long provided a mechanism to

enable a defendant to seek a change of venue. Enter the Federal Rule of Criminal

Procedure Rule 21, which allows a defendant to initiate a motion, dependent upon the

court's discretion, for transfer of a criminal case for trial in another district, if (a) the

atmosphere is so prejudicial the defendant cannot obtain a fair and impartial trial within

the district in which the action is brought or (b) for the convenience of the parties and

witnesses, if in the interest of justice. The purpose of the rule is to secure a fair trial to

the defendant when circumstances in the district where the action is brought would

place an undue risk of unfairness upon the defendant if tried within that district.

Sheppard v. Maxwell, 384 U.S. 333 (1965).



    I.     FRCP RULE 21 (A) PROVIDES THAT THE COURT MUST
           TRANSFER THE PROCEEDING AGAINST TARRIO TO ANOTHER
           DISTRICT BECAUSE THE PREJUDICE AGAINST TARRIO IS SO
           GREAT IN THE TRANSFERRING DISTRICT THAT THE TARRIO
           CANNOT OBTAIN A FAIR AND IMPARTIAL TRIAL THERE.


         Federal Rule of Criminal Procedure 21 (a) states, in pertinent part, that upon a

defendant’s motion, the court must transfer the proceeding against that defendant to

another district if the court is satisfied that so great a prejudice against the defendant

exists in the transferring district that the defendant cannot obtain a fair and impartial trial

there. The defendant carries a substantial burden in establishing that pretrial prejudice

is ―so great‖ that continuances, gag orders, voir dire, and other safeguards are

insufficient to preserve the right to a fair trial. See United States v. Ayala, 64 F. Supp. 3d

446, 450 (E.D.N.Y. 2014). Although cases granting motions to transfer under Rule 21(a)

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are extremely rare, the circumstances mandating the transfer in this case are

unprecedented and require such a result. The courts have recognized two types of

prejudice that support a motion to transfer venue: presumed prejudice and actual

prejudice. Hayes v. Ayers, 632 F.3d 500, 508 (9th Cir. 2011) (quoting United States v.

Sherwood, 98 F.3d 402, 410 (9th Cir. 1996)).             Presumed prejudice refers to the

conditions that exist before trial in the district in question; the court will typically consider

in this regard whether there was a barrage of inflammatory publicity, whether news

accounts were factual or opinionated, whether those accounts included material that

would not be admissible, the size of the overall jury pool, and the availability of judicial

tools to mitigate the prejudicial effect of pretrial publicity. Prejudice may be presumed

―when the record demonstrates that the community where the trial was held was

saturated with prejudicial and inflammatory media publicity about the crime.‖ Harris v.

Pulley, 885 F.2d 1354, 1361 (9th Cir. 1988). Prejudice should be presumed in only

extreme cases. Harris, 885 F.2d at 1361 (presumed prejudice is ―rarely applicable‖ and

―reserved for an extreme situation‖).

       Actual prejudice focuses on whether the opinions expressed by particular

potential jurors in the course of jury selection demonstrate impermissible bias. Actual

prejudice also occurs when the voir dire did not adequately detect and defuse juror bias.

       In Washington, D.C., the presumed prejudice against Tarrio is so great that a fair

and impartial trial is impossible. The D.C. potential jury pool has been tainted without

cure in a singular way that is unparalleled in legal history. In D.C., the media coverage

of the J6 events and the effects thereof saturate the public with prejudicial and

inflammatory publicity.     This detrimental pretrial publicity has created widespread

community prejudice against Tarrio and the Proud Boys. Specifically, Tarrio, as the


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very public face of the Proud Boys, is situated in a unique position where the prejudice

to him is much greater than any other ―J6‖ Defendant.

         The inflammatory nature is evident in that Tarrio has been labeled a ―white

supremacist,‖ a belief largely held throughout D.C., due to the media bias, when in

reality Tarrio is a brown skinned Cuban-American. The potential jury members come

from the most politically uniform community in the entire country.                                  In the 2016

Presidential Election, unlike the rest of the country, where the election results were

more competitive,2 a whopping 94.6% of District of Columbia voters voted against

Donald Trump.3           Similarly, in the 2016 Presidential Election, 95.9% of District of

Columbia voters voted against Donald Trump.4 In both of these elections, the

Democratic candidate received more than 90% of the vote.5 About 33% of D.C.

residents work for the government.6 There is an absolute lack of political diversity in

D.C. that is sui generis in our political system. While in most criminal cases this unique

political landscape would be irrelevant, in this case it cuts to the heart of the

characteristics of this community.                This case has a political aspect that cannot be

denied. Politics today are polarized to say the least and therefore this aspect of the

transferring districts community is dispositive to the analysis for change of venue.

         The Supreme Court has overturned convictions where the district court failed to

transfer for venue after prejudicial pretrial publicity. See e.g. Rideau v. Louisiana, 373

U.S. 723 (1963); Estes v. State of Texas, 381 U.S. 532 (1965); Sheppard v. Maxwell,

2
   Hall, Madison. “How the 2020 Election Results Compare to 2016, in 9 Maps and Charts.” Business Insider,
Business Insider, 18 Nov. 2020, https://www.businessinsider.com/2016-2020-electoral-maps-exit-polls-compared-
2020-11#the-electoral-vote-count-from-2016-to-2020-basically-flipped-1.
3
  2020 Election Results, DCBOE, https://electionresults.dcboe.org/election_results/2020-General-Election (last
visited April 26, 2022).
4
  2016 Election Results, DCBOE, https://electionresults.dcboe.org/election_results/2016-General-Election (last
visited April 26, 2022).
5
   See Id.
6
   District of Columbia, Urban Institute (2021), https://www.urban.org/policy-centers/cross-center-initiavies/state-
37and- local-finance-initiative/projects/state-fiscal-briefs/washington-dc
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384 U.S. 333 (1966). The Supreme Court has also reversed convictions where there

was a ―huge…wave of public passion‖ and where the venire possessed ―a belief in

[defendant’s] guilt.‖ Irvin v. Dowd, 366 U.S. 717, 728 (1961)(vacating a conviction and

death sentence for the trial court’s failure to transfer venue for community publicity); see

also Patton v. Yount, 467 U.S. 1025 (1984).



      II.     THE SKILLING FACTORS


       In the prosecution of Jeffrey Skilling, former chief financial officer of Enron, the

defense filed a motion for change of venue based on the localized hostility towards him

in Houston and the extensive pretrial publicity that poisoned the potential jury pool. The

Southern District Court of Texas denied Skilling’s motion to transfer venue and he was

ultimately convicted. On appeal, the Fifth Circuit held that the volume and negative tone

generated by Enron’s collapse had indeed created a presumption of juror prejudice, but

found the presumption had been rebutted based on the fact that the district court had

conducted a thorough jury selection process. The case went up to the Supreme Court.

       In Skilling v. United States, 561 U.S. 358 (2010), the Supreme Court rejected the

Skilling’s claims on both presumed and actual prejudice. With regard to presumed

prejudice, the court held that even pervasive adverse pretrial publicity does not

inevitably lead to an unfair trial. There, the court noted that the news stories about

Enron and Skilling did not contain any confessions or present the kind of vivid and

unforgettable information likely to produce prejudice. The court also noted that four

years had elapsed between Enron’s bankruptcy and Skilling’s trial as well as the size

and diversity of the potential jury pool in Houston would not render it impossible to find

12 impartial individuals.

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           The Skilling court laid out a combination of factors to be considered in

determining the appropriateness of change of venue. See Skilling v, United States, 561

U.S. 358 (2010). The factors in Skilling relevant to an analysis of presumed prejudice

due to pretrial publicity are: (1) The size and characteristics of the community in which

the crime occured; (2) The nature and extent of pretrial publicity; (3) The proximity of

time between the publicity and the trial; and (4) Evidence of juror partiality such as when

the jury acquits the defendant of some of the alleged crimes.7 In Skilling, the Supreme

Court explained that cases reversed on appeal for failure to change venue had trials

that were tainted by an atmosphere ―utterly corrupted by press coverage.‖ 561 U.S. at

380.



    III.   ANALYSIS OF SKILLING FACTORS



                     A. SIZE AND CHARACTERISTICS OF THE COMMUNITY



           According to the United States Census Bureau, as of July 2021, Washington

D.C. is a relatively small community, with a population of about 670,000.8 Of these

people, there is an estimated potential jury pool of less than 500,000. 9 Approximately

93% of voters in D.C. voted against Donald Trump in the 2020 election, rendering it the

least diverse political population in the country. 10 In both the 2020 and 2016 elections,

the Democratic candidate received more than 90% of the vote. This incredible lack of


7
  The fourth factor is not discussed herein as it is only relevant to a finding of Actual Prejudice. Here, Tarrio has
filed this motion before trial and therefore can only rely on an analysis of presumed prejudice..
8
  See https://www.census.gov/quickfacts/DC.
9
  See District of Columbia, The Urban Institute (September 2021), https://www.urban.org/policycenters/cross-
center-initiatives/state-and-local-finance-initiative/projects/state-fiscalbriefs/Washington-dc,
10
   See Election Results: The 2020 presidential race, Politico.com (2021); https://www.politico.com/2020-
election/results/president (last visited April 26, 2022).
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diversity is unique to the jury pool for the District of Columbia. In addition to the national

news stories, this jury pool has been bombarded with propaganda and negative

publicity on a daily basis by the local media, local politicians, and national politicians

that live in the local community. The negative publicity has programmed the potential

D.C. jury pool to believe that an attack was committed by white supremacists intent on

insurrection and their violent fanatical actions caused a curfew, a lockdown to be

placed, and a military occupation and hold for their protection over a period of months.

           Washington D.C. provides a small, uniform pool of people when compared to the

size and characteristics of Skilling’s ―large, diverse pool‖ of 4.5 million eligible jurors in

Houston, the fourth largest city in America. Skilling, 561 U.S. at 382. Venue survey data

obtained during the month of January 2022 demonstrated that 73% of D.C. voters who

participated in an online survey believe that any individual who was inside the US

Capitol on January 6 should be convicted of insurrection - a charge not even the

Government has levied.11



                         B. NATURE AND EXTENT OF PRETRIAL PUBLICITY



           The nature of the media coverage over J6 has been negative, vivid, and

unforgettable. The extent of the negative pretrial publicity is pervasive and perhaps

more than any other event in American history. Every local D.C. and national politician

has made negative statements referring to the individuals involved in the January 6

incident as ―white supremacists‖ and ―insurrectionists‖. D.C. residents have been

bombarded with 24 hour coverage of the January 6 incident with constant updates of

arrests, criminal charges, and prosecutorial outcomes.

11
     Results from John Zogby online survey in the case of United States v. Gabriel Garcia, 1:21-CR-129
                                                                                                         8
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        Tarrio, as the face and symbol of the Proud Boys, has received the Democratic

party’s seething hatred, which cannot be contained, mitigated, or controlled. Tarrio

stands for the antithesis of leftist liberal ideology and must be crushed, destroyed, and

canceled by the left leaning members of the jury pool of Washington D.C. There cannot

be any other verdict in their minds but guilty. Regardless if the prosecution has met

their burden beyond a reasonable doubt, the jury will return a politically favorable verdict

of guilty, or the jurors themselves will be shunned and canceled by their Washington

D.C. tribe at work, at home, in their social circles, at church and throughout their

community.       In this atmosphere of extreme community prejudice and D.C.’s tribal

political landscape, a fair trial for Tarrio is impossible.

        President Biden referred to Trump supporters involved in the January 6 incident

as ―a group of thugs, insurrectionists, political extremists, and white supremacists.‖12

The D.C. jury pool, already adverse to Trump supporters, has been programmed to

believe by their party’s political leaders that the January 6 incident was a white

supremacist insurrection and a domestic terror attack. This message programming was

further magnified by Attorney General Merrick Garland. He stated, ―there was a line that

connected the January insurrection to the Oklahoma City Bombing and back to the

battles of the original Justice Department against the Ku Klux Klan.‖13

        The Ku Klux Klan reference is more than mere rhetoric and contributes to the

prejudice so great in Tarrio’s case as evidenced by the current lawsuit he is defending

against where he is sued under the modern version of an 1871 law known as the Ku

Klux Klan Act by the D.C. Attorney General Karl A. Racine (D), who has gone as far as

conducting a press conference and accusing Tarrio of being part of vigilantes,
12
   Remarks by President Biden at Signing of an Executive Order on Racial Equity, The White House (2021),
https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/01/26/remarks-by-president-biden-at-signing-
of-an-executive-order-on-racial-equity/ (last visited April 26, 2022).
13
   Merrick Garland ties Oklahoma City bombing to Capital riot (yahoo.com)(June 15, 2021).
                                                                                                              9
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insurrectionists, masters of a lawless mob who terrorized D.C. residents. It is these

terrorized residents represented by Attorney General Racine that make up the jury pool

members in this case. Tarrio is also defending a lawsuit brought by the Metropolitan

African Methodist Episcopal Church for trespassing and burning its Black Lives banner.

This incident was investigated as a hate crime by the D.C. police. The United States

Census Bureau population estimates that 46% of D.C.is African American.14

        As if the negative publicity was not enough, consider the effect that the National

Guard’s deployment to Washington D.C. for more than 4 months after the incident. At

least 26,000 National Guard troops took over D.C. There was also a curfew in place as

well as road and bridge closures for months. D.C. residents were told over and over

again that their punishment was the fault of the January 6 defendants. Every potential

juror in the District was negatively impacted by the events of January 6. Vice President

Harris compared it to Pearl Harbor and September 11 when she said, ―Certain dates

echo throughout history, including dates that instantly remind all who have lived through

them – where they were and what they were doing when our democracy came under

assault. Dates that occupy not only a place on our calendars, but a place in our

collective memory: December 7, 1941, September 11, 2001, and January 6, 2021.‖ 15

        President Biden has also made statements referencing Trump supporters

involved in the January 6 incident as ―a group of thugs, insurrectionists, political

extremists, and white supremacists.‖16 While on the House Floor in Washington D.C.,

Representative Cori Bush called the January 6 incident ―a white supremacist


14
   https://www.census.gov/quickfacts/DC
15
   Vice President Kamala Harris „ remarks on January 6 anniversary Updated 11:13AM ET, Thu January 6, 2022,
https://www.cnn.com/2022/01/06/politics/transcript-kamala-harris-january-6-anniversary-speech/index.html
16
   Remarks by President Biden at Signing of an Executive Order on Racial Equity, The White House (2021),
https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/01/26/remarks-by-president-biden-at-signing-
of-an-executive-order-on-racial-equity/ (last visited April 26, 2022).

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insurrection‖ and a ―domestic terror attack‖.17 Within the first week of the incident,

Democrats received their marching orders, and 73% of Democrat leaders in

Washington referred to the January 6th event as an ―insurrection‖.18 Adding to the

programming, Attorney General Merrick Garland, during his Senate Judiciary

Committee on February 22, 2021, described the January 6 th incident as ―a heinous

attack that sought to disrupt a cornerstone of our democracy‖ and further elaborated

that the individuals involved as ―white supremacists … who stormed the Capitol.‖ 19 The

Department of Homeland Security declared that government offices were potential

targets of violent domestic extremists, who were emboldened by the ―recent mob

assault on the Capital on January 6th.‖

        Skilling emphasized ―the kind of vivid, unforgettable information the Court has

recognized as particularly likely to produce prejudice,‖ when considering the factor of

jury partiality. 561 U.S. at 383. The Capitol incident was, in itself, vivid and

unforgettable, placed in the same category as the date that will live in infamy and the

deadliest terrorist attack on American soil in U.S. history by Vice President Harris and

the imagery replayed countless for the D.C. community.                        The media’s constant replay

of has guaranteed that no one can forget those vivid images and the accompanying

rhetoric. Those that control the political narrative are sending a message to all

prospective jurors that anything but a guilty verdict will be unacceptable. Nancy Pelosi

has made it clear that voting in favor of conviction of ―insurrection‖ is ―courage‖, while

17
   Rep. Cori Bush Calls Trump “White Supremacists-in-Chief”, NBC4 Washington,
https://www.nbcwashington.com/news/national-international/rep-cori-bush-calls-trump-white-supremacist-
inchief/2540892 (last visited April 26, 2022).
18
   Lawmakers of each party used distinct language on social media in days following Jan. 6 rioting at U.S. Capital,
Pew Research Center (2021), https://www.pewresearch.org/fact-tank/2021/01/15/how-lawmakers-social-media-
activity-changed-in-the-days-after-the-u-s-capital-riot/ft_2021-01-15_socialmediacongress_01/ (last visited April
26, 2022).
19
   Hearing before the U.S. Senate Committee on the Judiciary, Merrick Brian Garland (Nominee for Attorney
General), February 22, 2021 (2021), https://judiciary.senate.gov/imo/media/doc/SJC%20Testimony.final.pdf (last
visited April 26, 2022).
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voting against conviction is ―pathetic‖.20 The insular politics of D.C. are a significant risk

to a fair trial by an impartial jury in a case that is entirely political, with a defendant in the

titular role of the leader of the Proud Boys who has been marred without mercy by the

media as a polarizing political figure.

        The nature and extent of pretrial publicity has created a bias that cannot be cured

by the Court through any other means but a transfer of venue.                                  Political bias is

especially engrained because it has developed over such a long period of time that the

negative publicity solidifies the prejudice. ―Bias can infect the cognitive process from

beginning to end and anywhere between,‖ and ―political commitments are very likely to

give rise to bias,‖ according to a Florida State University study on the issue of liberal

bias.21 A 2018 study of 51 experimental studies involving over 18,000 participants

examined the prevalence of political bias when it challenged political beliefs of

allegiances.22 The researchers found that people exhibited a bias in favor of their own

politics, that they saw information as ―more valid and compelling when it confirmed

rather than challenged their political affinities.‖23 This is an important consideration in a

political case before a jury that has completely adverse views to the defendant, debating

political issues, ideologies, and beliefs hostile to the core beliefs of the jurors. Due to

heightened political awareness in D.C., as the political capital of our country, D.C. jurors

would be statistically more likely to skew their verdict in favor of the more politically

correct verdict – a guilty verdict. Jurors would feel shame to even raise the possibility of

a not guilty verdict within their D.C. community, regardless of the evidence presented.


20
   See Pelosi Statement on Impeachment Trial of Donald Trump, Speaker Nancy Pelosi (2021),
https://www.speaker.gov/newsroom/21321 (last visited April 26, 2022).
21
   Winegard, Bo and Clark, Cory and Hasty, Connor R. and Baumeister, Rory, Equalitarianism: A Source of Liberal
Bias (May 8l, 2018), available at SSRN:https://ssrn.com/abstract=3175680.
22
   Peter H. Ditto et al., At Least Bias is Bipartisan: A Meta-Analytic Comparison of Partisan Bias in Liberals and
Conservatives, 14 Perspectives on Psychological Science 273-291 (2018).
23
   Id.
                                                                                                                   12
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                 For the D.C. community, the conclusion cannot be avoided that this media

spectacle, in a very real sense, is Tarrio’s trial – where he has been found guilty of

insurrection as a white supremacist. Any subsequent court proceedings in a community

so pervasively exposed to such a spectacle could be but a hollow formality.                                  The

combined elements of D.C.’s prejudiced and polarizing politics, the endless negative

pretrial publicity, and the proximity of the publicity and the trial, render the District of

Columbia a hostile jurisdiction for the trial of Tarrio and the venire so greatly prejudiced

that a change of venue is necessary to cure the prejudice.



                            C. THE PROXIMITY OF PUBLICITY TO TRIAL



        In Skilling, the case went to trial four years after the highly publicized origination

of the case. The instant case is scheduled to go to trial on August 8, 2022, just months

after Tarrio’s arrest. Tensions remain high and the media’s attention on these Capitol

incident cases has not relented, as seen by the slew of news stories covering the

pretrial proceedings of Tarrio to this day.24 Undersigned counsel has been barraged

with requests from media outlets and reporters requesting information about the case.

        Local media outlets continue to report daily on J6 cases. Recent sentencing of

high-profile J6 defendants, the ongoing civil lawsuits, and the National Guard stories

have maintained the J6 rhetoric alive and current in the local discourse at the beauty

parlor, barbershop, church, and family gatherings. Indeed, there are almost daily stories

about the Congressional investigation into the events of January 6 th, revealing new

details and the failure of many people who have been subpoenaed by the

24
  https://www.wusa9.com/article/news/national/capitol-riots/enrique-tarrio-says-family-will-put-up-their-houses-to-
back-1m-bond-proud-boys-ethan-nordean-joe-biggs-dominic-pezzola-donald-trump-capitol-riot/65-668f6fc1-757c-
4415-9234-8abbc617de02 (last visited April 26, 2022).
                                                                                                                 13
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Congressional committee to cooperate. In fact, the closer we get to the mid-term

elections in November 2022, the more intense the nature and extent of the publicity will

be in this case. Between the media’s concentration on Tarrio, the political response to

the Capitol incident and the relentless media coverage of politician’s statements made

about the J6 defendants leading up to the midterms, this case is the type of exceptional

circumstance that warrants a transfer of venue, as the presumption of prejudice in this

community is unavoidable and incurable by other means.



 IV.     VOIR DIRE IS INEFFECTIVE IN WEEDING OUT BIASED JURORS,
         ESPECIALLY IN CASES OF EMOTIONAL PRETRIAL PUBLICITY



         The jury is a cornerstone of the American legal system.25 Jurors must remain

impartial, valuing their life experiences on one hand and acting as ―blank slates‖ on

which litigants paint the case’s facts and law on the other.26 Pretrial publicity is an

issue that has increased in frequency and effect as technology advances. Potential

jurors have been known to Google the parties, their attorneys and the media coverage

in any case. The courts have historically preferred voir dire of potential jurors as a

means of curing the prejudice that comes with pretrial publicity, instead of deciding to

transfer venue under FRCP Rule 21 as raised ―at or before arraignment.‖ See United

States v. Haldeman, 559 F.2d 31, 60, 63-64 (D.C. Cir. 1976). However, in cases where

the extreme nature and extent of negative pretrial publicity that prejudices the potential
25
   See JUD. CONF. OF THE U.S., HANDBOOK FOR TRIAL JURORS SERVING IN THE UNITED STATES
COURTS 15 (2019) http://www.vaed.uscourts.gov/jury/ jurortrialhandbook.pdf [https://perma.cc/D3JT-UGQX]
(“The effectiveness of the democratic system itself is largely measured by the integrity, the intelligence, and the
general quality of citizenship of the jurors who serve in our courts.”).
26
   Richard Lorren Jolly, The New Impartial Jury Mandate, 117 MICH. L. REV. 713, 715 (2019); see also JUD.
CONF. OF THE U.S., supra note 32, at 12 (“The words of Supreme Court Justice Oliver Wendell Holmes from over
a century ago apply with equal force to jurors serving in this advanced technological age: „The theory of our system
is that the conclusions to be reached in a case will be induced only by evidence and argument in open court, and not
by any outside influence, whether of private talk or public print.‟” (quoting Patterson v. Colorado, 205 U.S. 454, 462
(1907))).
                                                                                                                    14
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jury eliminates the possibility of a fair trial, voir dire is incapable of securing an impartial

jury.

        While there are cases where gag orders, continuances, time, sequestration,

thorough voir dire, and other safeguards may be sufficient to detect and eliminate juror

bias, this is not one of those cases. This case is utterly corrupted by negative press

coverage and reinforced on a local level. In Skilling, The 5th Circuit Court of Appeals,

which heard the defendant's appeal, partially agreed with the defendant and found a

presumption of juror prejudice based on: (a) the negative media coverage; (b) co-

defendant's guilty plea; and (c) large number of victims in the greater Houston area. The

5th Circuit, however, did not overrule the trial court because it found that the

presumption of jury prejudice had been rebutted by the jury selection process.

Specifically, the 5th Circuit held that "the volume and negative tone of media coverage

generated by Enron's collapse created a presumption of juror prejudice….however, that

presumption is rebuttable, the court examined the voir dire, found it 'proper and

thorough,' and [that] the District Court had empanelled an impartial jury." Can proper

and thorough voir dire rebut the presumption of jury prejudice in this case? No. The

presumption of jury prejudice in this case is fueled by the worst and most invasive type

of negative publicity - emotional.

        Studies have shown that voir dire does not weed out biased jurors in cases of

emotional pretrial publicity. Emotional publicity is the kind of sensational publicity likely

to arouse an emotional response. Of particular importance is the finding from On the

Effectiveness of Voir Dire in Criminal Cases With Prejudicial Pretrial Publicity: An

Empirical Study, which found that voir dire challenges are insufficient and ineffective at




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weeding out biased jurors in cases with prejudicial pretrial publicity. 27 ―The net effect of

careful voir dire concerning pretrial publicity, therefore, was nil, and the bias created by

the publicity survived voir dire unscathed.‖28 Furthermore, ―emotional publicity‖ can not

be cured, not even through time and continuances.29 See Yount, 467 U.S. at 1031

(―[A]dverse pretrial publicity can create such a presumption of prejudice in a community

that the jurors' claims that they can be impartial should not be believed‖).

           The community prejudice in D.C. is fed daily by the unprecedented amount of

political and media commentary on the criminal case and the staggering amount of

emotion that charged the 2020 Presidential election. Nothing about the pretrial publicity

and community prejudice in this case are similar in scope or magnitude to any local

case in the past. To expect that a careful voir dire, sequestration, of other principles of

protection as used in prior D.C. publicity cases would be constitutionally sufficient to

preserve the Tarrio’s Fifth and Sixth Amendment rights to an impartial jury would be

fantasy.

           As the American University Law Review study On the Effectiveness of Voir Dire

in Criminal Cases With Prejudicial Pretrial Publicity: An Empirical Study noted, ―jurors

awareness and willingness to report bias is imperfect.‖ Moreover liberals are less aware

of their personal biases.30 This matters in jury selection, where counsel and the Court

rely, to a large extent, on juror self-reporting. Under these circumstances, a fair trial for

Tarrio is simply improbable in light of the community prejudice and highly polarized

27
   Kerr, N L, et al. “On the Effectiveness of Voir Dire in Criminal Cases With Prejudicial Pretrial
Publicity: An 64 Empirical Study”, Am. University Law Review, vol. 40, no. 2, 1991, pp. 665–701,
https:// www.ojp.gov/library/abstracts/effectiveness-voir-dire-criminal-cases-prejudicial-pretrial-
publicity-empirical.
28
   Id. at 697.
29
     Id. at 675.
30
  Are Liberals Really More Egalitarian, Psychology Today (2021),
https://www.psychologytoday.com/us/blog/the63anitsocial-psychologist/202102/are-liberals-really-more-
egalitarian; Winegard, Bo, et al, Equalitarianism: A Source of Liberal Bias, supra.
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environment of the Washington D.C. community. This improbability can be computed.

In assessing human behavior, the United States Court of Appeals for the District of

Columbia created a mist fitting test: ``We are concerned not simply with probabilities,

but with conditional probabilities: if one event occurs, how likely is it another event will

occur?‖ United States v. Prandy-Binett, 995 F. 2d 1069, 1070 (D.C. Cir. 1993); United

States v. (Monte) Brown, 374 F. 3d 1326, 1328 (D.C. Cir. 2004); see also Skilling, 130

S. Ct. at 2948 (―[A]s the tide of public enmity rises, so too does the danger that

prejudices of the community will infiltrate the jury‖). The value of this analysis is to

consider the effect of circumstances in the cumulative. United States v. Prandy-Binett II,

5 F.3d 558, 559 (D.C. Cir. 1993). This conditional analysis is aptly pertinent to reviewing

prospective jurors. In considering voir dire as a safeguard in combating the community

prejudice that exists in this case, we can ask:


   ● Out of the eligible jury pool, if 95% of D.C. voted against Donald Trump, what

       portion of these prospective jurors will be able to remain impartial in a case

       involving a fact pattern of both Donald Trump and Tarrio claiming that Biden lost

       the election and Trump won the election?


   ● Of these remaining prospective jurors in D.C., how many can remain impartial

       after seeing nonstop media coverage about the Capitol incident that involved the

       Proud Boys whose chairman and leader is Tarrio?


   ● Of these remaining prospective jurors in D.C., how many can remain impartial

       after living through the D.C. lockdown and continuing militant patrol in response

       to the Capitol incident involving the Proud Boys, without attributing blame to

       Tarrio?


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● Of these remaining prospective jurors in D.C., how many can remain impartial

   after being advised by the federal government that there is a fear of domestic

   terrorism and that people like Tarrio, or motivated by Tarrio, ―could continue to

   mobilize to incite or commit violence‖ near their home in D.C.?


● Of these remaining prospective jurors in D.C., how many can remain impartial

   after hearing President Biden accuse Capitol arrestees like Tarrio of being

   ―insurrectionists, political extremists, and white supremacists,‖ and other

   politicians parroting nearly the same?


● Of these remaining prospective jurors in D.C., how many can remain impartial

   after hearing calls to conviction from the politicians and pundits who control the

   political ethics narrative of D.C.?


● Of these remaining prospective jurors in D.C., how many can remain impartial

   after seeing numerous stories about Tarrio’s support of a ―racist president‖?


● Of these remaining prospective jurors in D.C., how many can remain impartial

   after seeing numerous stories about Tarrio being an ―insurrectionist‖?


● Of these remaining prospective jurors in D.C., how many can refrain from trying

   to punish Tarrio for his politics, or for something he is not charged with, such as

   ―insurrection‖?


● Of these remaining prospective jurors in D.C., how many will disobey ―cancel

   culture‖ and the social pressure to punish Tarrio for being politically incorrect?




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   ● Of these remaining prospective jurors in D.C., how many will have the confidence

       to raise the conversation of a not guilty verdict in deliberations with juror

       members who might call them ―racist‖ for even bringing up the discussion?


   ● Of these remaining prospective jurors in D.C., how many can render a not guilty

       verdict even if it will mean being scrutinized by the public after such a verdict,

       potentially being called a ―racist‖ or a ―traitor‖ by their community after doing so?


   ● Of these remaining prospective jurors in D.C., how many can render a not guilty

       verdict in the face of a community seeking retribution for the militarization and

       unforgettable disruption of their city?


   ● Of these remaining prospective jurors in D.C., how many can render a not guilty

       verdict if that means letting Tarrio walk free on these charges?



   These inquiries can go on and on until we reach a point near absolute zero, but we

don’t have to go to this extreme absolute. Rule 21(a) only requires a showing of a

―great‖ prejudice against the defendant. This case easily satisfies the showing of great

prejudice. ―This analysis assumes interdependence.‖ Prandy-Binett II, 5 F.3d at 560.

Indeed, the D.C. potential jury pool lived through the extraordinary militarization of D.C.

in response to the Capitol incident, combined with the obsessive media coverage of the

incident, combined with particularized media attention on Tarrio, combined with the

devastating political linguistics aimed at characterizing all participants in the Capitol

incident as terrorists, combined with malicious inaccuracies about ―white supremacy‖

being attributed to Tarrio, combined with news coverage on the civil lawsuits that Tarrio

is defending in D.C., combined with the district’s incomparable political opposition to the

politics that define the underlying case, and the residents’ large federal government
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employment statistics —all yield a great prejudice in D.C. against Tarrio that cannot be

cured by voir dire, sequestration, or any other method that might otherwise safeguard

the defendant’s constitutional rights in another case.

       Therefore, the totality of the circumstances render the D.C. Circuit’s usual

practice of deferring a motion for transfer until after voir dire insufficient to protect

Tarrio’s constitutional rights. Instead, it may result in a false sense of security with a

jury panel that is inherently incapable of unbiased adjudication.             Further, the

presumptive cost, inconvenience and delay in securing a fair jury in this case is a strong

factor weighing in favor of a change of venue. Finally, the appearance of propriety also

weighs heavily in favor of transferring the venue for this case.         The only remedy

sufficient to cure the prejudicial pretrial publicity and community prejudice against the

defendant is to transfer this matter to an appropriate alternative venue.



 V.    APPROPRIATE ALTERNATIVE VENUE



       The appropriate alternative venue must provide for a fair trial by an impartial jury.

In United States v. McVeigh, 918 F. Supp. 1467, 1470 (W.D. Okla. 1996), the

prosecution (led by Merrick Garland) did not object to the Defendant’s Motion for

change of venue, and instead suggested the case be moved to the Northern District of

Oklahoma in Tulsa.      The Oklahoma District Court was left to decide whether the

appropriate alternative venue should be another district within the state of Oklahoma, as

suggested by the prosecution, or if another district would be an appropriate alternative

venue. The Court noted that the media coverage in Oklahoma compared with the

national news coverage was staggering in terms of volume and focus. The Court also

noted that with the passage of time, Oklahoma’s news coverage remained focused
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throughout the state on the aftermath with individual stories of grief, recovery, and

community spirit. This was contrasted to national news coverage that waned over time.

The Court ruled that the ―emotional burden of the explosion and its consequences‖ and

the community prejudice against the defendants accused of the bombing in Oklahoma

City was so great that they could not obtain a fair and impartial trial in the state of

Oklahoma. United States v. McVeigh, 918 F. Supp. 1467, 1470 (W.D. Okla. 1996)

(―There is no disagreement among the parties with Judge Alley’s concern about a trial in

Oklahoma City. The effects of the explosion on that community are so profound and
                                                                           31
pervasive that no detailed discussion is necessary.‖).                          Unlike the geography of

Oklahoma, D.C. and the neighboring jurisdictions are huddled together to form one

community. Where while one may work in D.C., they lay their head to rest in Maryland.

In fact, D.C. is one of a three-part area that makes up the DMV. One will often hear

local radio hosts refer to events in the DMV, and what they mean is the District,

Maryland and Virginia. The DMV encompasses the city of Washington, D.C. plus all of

the surrounding suburbs, as many people commute in from Virginia and Maryland to

work every day.          Thus, the immediate neighboring jurisdictions cannot provide an

appropriate alternative venue.



                             A.     SOUTHERN DISTRICT OF FLORIDA


        While the Court can consider many alternative venues for this case in a vacuum,

the appropriate alternative venue for this case that also takes into account the

considerations listed in FRCP Rule 21 (b) is the U.S. Southern District of Florida. This

community is much larger than Washington D.C., has a community of varied political

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  McVeigh‟s case was transferred to the District of Colorado, where he was ultimately convicted and sentenced to
death.
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viewpoints and is also a convenient forum since Tarrio resides there, witnesses for the

Tarrio’s defense also reside in the Southern District of Florida as well as the defense

attorneys.

       While pretrial publicity was as prevalent in Florida as it was nationwide, it did not

compare to the level of political publicity experienced in Washington D.C., nor was the

community prejudiced through a curfew, the closure of their streets, or through

continuous National Guard presence all blamed on the J6 defendants. Florida residents

have not been warned that domestic terrorists are threatening their hometown. Florida

is not an insulated and nearly totally homogenous political community. Florida residents

are not employed by the federal government in statistically significant rates. The parties

are significantly more likely to find an unbiased jury panel in a community where media

exposure to the case is more limited and the jury pool more diverse.



VI.    FRCP RULE 21 (B) PROVIDES THAT UPON THE DEFENDANT’S MOTION,
       THE COURT MAY TRANSFER THE PROCEEDING, OR ONE OR MORE
       COUNTS, AGAINST THAT DEFENDANT TO ANOTHER DISTRICT FOR THE
       CONVENIENCE OF THE PARTIES, ANY VICTIM, AND THE WITNESSES, AND
       IN THE INTEREST OF JUSTICE.



       Federal Rules of Criminal Procedure Rule 21 (B) provides that the court may

transfer the proceeding, or one or more counts, against that defendant to another

district for the convenience of the parties, any victim, and the witnesses, and in the

interest of justice.

       In weighing the convenience of the defendant and the witnesses, transferring

venue to the Southern District of Florida is appropriate. In determining whether the

Court should grant the Defendant’s motion to transfer venue in the interest of justice,

the Court should consider not just Skilling’s presumed prejudice, but also the
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appearance of prejudice and the cost and logistical difficulties involved in dealing with

prejudice amongst a D.C. jury pool.

       While no authority prescribes an exclusive list of factors beyond which a court

may not inquire when deciding a Rule 2l(b) transfer motion, the courts have weighed

different factors in practice. Even if the Court finds that the pretrial prejudice doesn’t

pass the Rule 21(a) threshold, the Court should consider the pretrial prejudice is

relevant in the interest of justice. The presumptive cost, inconvenience and delay in

securing a fair jury in this case is a strong factor weighing in favor of a change of venue.


                                      CONCLUSION


       This case is nothing less than historic. Let no one in history say that this trial was

unfair, fixed, or a mere hollow formality. Tarrio has demonstrated that he faces

insurmountable prejudice in the District of Columbia, prohibitive of an impartial jury. He

has rightfully invoked his constitutional guarantee to a fair trial by an impartial jury under

the Sixth Amendment, and aptly requests a transfer of venue to the Southern District of

Florida pursuant to Rule 21(a) and/or (b) of the Federal Rules of Criminal Procedure.

Under the Skilling analysis, Tarrio has demonstrated presumed prejudice considering

the unique size and characteristics of the D.C. community from which the jury pool

originates, the nature and extent of the pretrial negative publicity, and the proximity of

that publicity to the trial. Prejudice, or the appearance of prejudice, or the logistical

difficulties involved in dealing with prejudice are legitimate factors favoring transfer

under Rule 21 (B) in the interest of justice. The Court should not wait for voir dire to

commence before considering a transfer of venue. A case of this magnitude, where the

community prejudice is so high, should be transferred now. If the Court waits until voir


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dire commences, any postponement of voir dire could potentially reset the case for

months.



      WHEREFORE, Tarrio respectfully moves this District Court grant motion, as

detailed above.

                                             Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was

electronically noticed through the CM/ECF system to the US Attorney’s Office on this

2nd day of May, 2022 to the following:

      Jason McCollough
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